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                             UNITED STATES BANKRUPTCY COURT
                               CENTRAL DISTRICT OF ILLINOIS
IN RE:
                                                      Case No.: 18-71826
        William D Knazavich
                                                      Chapter: 7

                                         Debtor(s)    Judge Mary P. Gorman


                 MOTION FOR RELIEF FROM THE AUTOMATIC STAY



       NOW COMES PACIFIC UNION FINANCIAL, LLC (hereinafter "Movant"), by and
through its attorneys, Codilis & Associates, P.C., and moves this Honorable Court pursuant to 11
U.S.C. §362(d) for an Order granting Movant relief from the automatic stay and in support
thereof states as follows:


       1.      This Court has jurisdiction pursuant to 28 U.S.C. §1334 and Internal Operating
Procedure 15(a) of the United States District Court for the Central District of Illinois;


       2.      On 12/17/18, Debtor(s) filed this case resulting in the imposition of an automatic
stay pursuant to 11.U.S.C. §362 of the Bankruptcy Code;

       3.      Prior to the filing of this case, a foreclosure sale of the real estate commonly
known as 118 W Elm St., Mason City, Illinois 62664 (hereinafter "Subject Property") was
completed and confirmed (See Attached Order Approving Report of Sale and for Possession);


       4.      Debtor(s) is/are the former mortgagor(s) of the Subject Property and the
Voluntary Petition filed herein indicates that Debtor(s) continue(s) to reside in the Subject
Property;

       5.      Relief from the automatic stay is required in order to proceed with any action to
evict or remove Debtor(s) from the Subject Property;
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       6.      Movant is entitled to relief from stay under the following reasons:
               a. Movant is owner of property and wishes to assert its possessory rights;
               b. There is no equity in the Subject Property;

       7.      This Court has authority to order that Rule 4001(a)(3) is not applicable to the
order entered in granting this motion, and Movant requests this Court so order;


        8.     Movant has incurred attorney fees and/or costs in connection with this bankruptcy
proceeding which have not been included in the calculation of any default figures quoted herein
including:
                  $750.00      for Preparation of Notice and Motion for Relief from the
                  Automatic Stay, and prosecution of same
                  $181.00      for Court filing fee
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         WHEREFORE, PACIFIC UNION FINANCIAL, LLC prays this Court enter an Order
pursuant to 11 U.S.C. Section 362(d) modifying the automatic stay as to Movant, allowing the
fees and costs described herein to be added to the indebtedness pursuant to the terms of the note
and mortgage, and for such other and further relief as this Court may deem just and proper.
         Dated this January 14, 2019.
                                                              Respectfully Submitted,

                                                              Codilis & Associates, P.C.


                                                              By: /s/ Gloria Tsotsos

                                                              Berton J. Maley ARDC#6209399
                                                              Rachael A. Stokas ARDC#6276349
                                                              Gloria C. Tsotsos ARDC#6274279
                                                              Peter C. Bastianen ARDC#6244346
                                                              Joel P. Fonferko ARDC#6276490
                                                              Laura A. Hrisko ARDC#6230993
                                                              MaryAnn G. Black #59899MO
                                                              Codilis & Associates, P.C.
                                                              15W030 North Frontage Road, Suite 100
                                                              Burr Ridge, IL 60527
                                                              (630) 794-5300
                                                              C&A FILE (14-17-17428)

NOTE: This law firm is a debt collector.
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                             UNITED STATES BANKRUPTCY COURT
                                     CENTRAL DISTRICT OF ILLINOIS

IN RE:
             WILLIAM D KNAZAVICH                           Case No. 18-71826

                                                           Chapter 7

                                             DEBTOR(S),    Judge Mary P. Gorman



                                           CERTIFICATE OF SERVICE

       The undersigned, an attorney, hereby certify that I served a copy of the attached Motion
upon the parties listed below, as to the Trustee and Debtor's attorney via electronic notice on
January 14, 2019 and as to the debtor by causing same to be mailed in a properly addressed
envelope, postage prepaid, from 7140 Monroe Street, Willowbrook, IL 60527 before the hour of
5:00 PM on January 14, 2019.

  James R. Inghram, Interim Trustee, 529 Hampshire Street #409, Quincy, IL 62301 by electronic notice
  through ECF
  William D Knazavich, Debtor(s), 417 South 25th Street, Herrin, IL 62948
  Kevin Linder, Attorney for Debtor(s), 1300 S. Eighth Street, Springfield, Il 62703 by electronic notice
  through ECF
  Office of U.S. Trustee, Becker Building, Room 1100, 401 Main, Peoria, IL 61602 by electronic notice
  through ECF




                                                               /s/ Gloria Tsotsos
                                                               Attorney for Creditor

Berton J. Maley ARDC#6209399
Rachael A. Stokas ARDC#6276349
Gloria C. Tsotsos ARDC#6274279
Peter C. Bastianen ARDC#6244346
Joel P. Fonferko ARDC#6276490
Laura A. Hrisko ARDC#6230993
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CODILIS & ASSOCIATES, P.C.
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                        UNITED STATES BANKRUPTCY COURT
                              CENTRAL DISTRICT OF ILLINOIS

IN RE:
            WILLIAM D KNAZAVICH                      Chapter 7

                                                     Case No. 18-71826

                                       DEBTOR(S),    Judge Mary P. Gorman



                                SUMMARY OF EXHIBITS

      The following exhibit(s) pertain to the Motion for Relief from the Automatic Stay filed
by PACIFIC UNION FINANCIAL, LLC on January 14, 2019:

1.     Note / Mortgage or relevant excerpts.

2.     Assignments, if applicable.

3.     Order Approving Sale
                                                          /s/ Gloria Tsotsos
                                                        Berton J. Maley ARDC#6209399
                                                        Rachael A. Stokas ARDC#6276349
                                                        Gloria C. Tsotsos ARDC#6274279
                                                        Peter C. Bastianen ARDC#6244346
                                                        Joel P. Fonferko ARDC#6276490
                                                        Laura A. Hrisko ARDC#6230993
                                                        MaryAnn G. Black #59899MO
                                                        CODILIS & ASSOCIATES, P.C.
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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and accurate copy of all exhibits listed below,
were transmitted via electronic filing and provided electronically by the Bankruptcy Court to the
Trustee and Debtor's attorney on January 14, 2019 and as to the debtor by causing same to be
mailed in a properly addressed envelope, postage prepaid, from 7140 Monroe Street,
Willowbrook, IL 60527 before the hour of 5:00 PM on January 14, 2019.

 James R. Inghram, Interim Trustee, 529 Hampshire Street #409, Quincy, IL 62301 by electronic notice
 through ECF
 William D Knazavich, Debtor(s), 417 South 25th Street, Herrin, IL 62948
 Kevin Linder, Attorney for Debtor(s), 1300 S. Eighth Street, Springfield, Il 62703 by electronic notice
 through ECF
 Office of U.S. Trustee, Becker Building, Room 1100, 401 Main, Peoria, IL 61602 by electronic notice
 through ECF




                                                                        /s/ Gloria Tsotsos
